          IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                                       )
MAXWELL       KADEL;    JASON          )
FLECK;    CONNOR      THONEN-          )
FLECK;     JULIA    MCKEOWN;           )
MICHAEL D. BUNTING, JR.; C.B.,         )
by his next friends and parents,       )
MICHAEL D. BUNTING, JR. and            )
SHELLEY K. BUNTING; SAM                )
SILVAINE, and DANA CARAWAY.            )
                                       )
                      Plaintiffs,      )
                                       )
                       v.              )
                                                   No. 1:19-cv-272
                                       )
DALE FOLWELL, in his official          )
capacity as State Treasurer of North   )
Carolina; DEE JONES, in her            )
official capacity as Executive         )
Administrator of the North Carolina    )
State Health Plan for Teachers and     )
State      Employees;       NORTH      )
CAROLINA        STATE     HEALTH       )
PLAN FOR TEACHERS AND                  )
STATE EMPLOYEES; NORTH                 )
CAROLINA DEPARTMENT OF                 )
PUBLIC SAFETY.                         )
                                       )
                    Defendants.        )
                                       )

STATE HEALTH PLAN DEFENDANTS’ RESPONSE IN OPPOSITION
    TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT




   Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 1 of 47
                                        TABLE OF CONTENTS

TABLE OF CONTENTS ...................................................................................... ii

TABLE OF AUTHORITIES ............................................................................... iv

STATEMENT OF THE CASE ............................................................................ 1

ARGUMENT ........................................................................................................ 4

    I.         Plaintiffs’ motion for summary judgment rests on disputed
               material facts. ........................................................................................4

          A.       The efficacy of Plaintiffs’ desired medical treatments
                   presents a crucial dispute of material fact. .....................................5

          B.       Plaintiffs’ purported expert evidence is not appropriate for
                   resolution without consideration by the factfinder. ..................... 12

          C.       Plaintiffs’ characterization of the Plan’s coverage decisions
                   is contradicted by the facts. ........................................................... 13

          D.       Plaintiffs have failed to provide the necessary evidence to
                   answer crucial questions of fact. ................................................... 14

    II.        Plaintiffs have not provided sufficient evidence to receive
               summary judgment on their claim pursuant to the Equal
               Protection Clause of the 14th Amendment. ...................................... 16

          A.       Plaintiffs have not identified a group of individuals, with
                   whom they are similarly situated, who are treated
                   differently. ...................................................................................... 16

          B.       Plaintiffs have not established that the State Health Plan
                   imposes facial classifications on its beneficiaries ........................ 23

          C.       Plaintiffs have not established any legal authority for their
                   claim that the Plan has an obligation to provide any member
                   with specific medical care. ............................................................. 31




                                                              - ii -



         Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 2 of 47
    III.     Plaintiffs’ remaining claims are not supported by the evidence. ..... 35

        A.       Plaintiffs have not provided sufficient evidence to support a
                 grant of summary judgment under § 1557 of the Affordable
                 Care Act. ......................................................................................... 35

        B.       Plaintiff Caraway has not produced sufficient evidence to
                 support her Title VII claim............................................................ 37

CONCLUSION ................................................................................................... 39

CERTIFICATE OF WORD COUNT ................................................................. 41




                                                           - iii -



      Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 3 of 47
                              TABLE OF AUTHORITIES
CASES
Agostini v. Felton, 521 U.S. 203 (1997) --------------------------------------------------- 29

Geduldig v. Aiello, 417 U.S. 484 (1974) ----------------------------------- 28, 29, 33, 34

Alexander v. Choate, 469 U.S. 287 (1985) ----------------------------------------------- 31

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ---------------------------------------------------- 27

Barrington Cove Ltd. P’ship v. R.I. Hous. & Mortg. Fin. Corp.,
  246 F.3d 1 (1st Cir. 2001) ----------------------------------------------------------------- 17

Bostock v. Clayton County, 140 S. Ct. 1731 (2020) ------------------------------ 25, 29

Boyd v. Bulala, 877 F.2d 1191 (4th Cir.1989) ----------------------------------------- 33

Boyden v. Conlin, 341 F.Supp.3d 979 (W.D. Wis. 2018) --------------------------- 19

Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263 (1993) ---------- 11, 29

C.P. by & through Pritchard v. Blue Cross Blue Shield of Illinois,
  536 F. Supp.3d 791 (W.D. Wash. 2021) ---------------------------------------------- 34

City of Los Angeles, Dep’t of Water & Power v. Manhart,
   435 U.S. 702 (1978) ------------------------------------------------------------------------- 37

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) ----------------------- 12

Doe v. Fairfax Cty. Sch. Bd.,403 F.Supp.3d 508 (E.D. Va. 2019). ---------------- 36

Flaming v. Univ. of Texas Med. Branch,
  2016 WL 727941 (S.D. Tex. Feb. 24, 2016) ------------------------------------------ 17




                                                  - iv -



     Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 4 of 47
Fletcher v. Alaska, 443 F.Supp.3d 1024 (D. Alaska 2020)-------------------------- 19

Gann v. Schramm, 606 F.Supp. 1442 (D. Del. 1985)--------------------------------- 17

Grider v. City of Auburn, Ala., 618 F.3d 1240 (11th Cir. 2010)-------------- 17, 23

Grimm v. Gloucester Cty. Sch. Bd., 972 F.3d 586 (4th Cir. 2020)---------------- 16

Harris v. Pittman, 927 F.3d 266 (4th Cir. 2019) ---------------------------------------- 4

Int’l Union, United Auto., Aerospace & Agr. Implement Workers of Am.,
UAW v. Johnson Controls, Inc., 499 U.S. 187 (1991) -------------------------------- 23

Jacobs v. N.C. Admin. Off. of the Cts., 780 F.3d 562 (4th Cir. 2015) ------------- 4

Kirk v. State, 465 S.E.2d 301 (N.C. Ct. App. 1995) ----------------------------------- 31

LaBella Winnetka, Inc. v. Village of Winnetka,
  628 F.3d 937 (7th Cir. 2010) -------------------------------------------------------- 17, 23

Lake v. State Health Plan for Tchrs. & State Emps.,
  825 S.E.2d 645 (N.C. Ct. App. 2019) -------------------------------------------------- 31

Lange v. Houston Cty., 499 F. Supp. 3d 1258 (M.D. Ga. 2020) ------------------- 30

Maher v. Roe, 432 U.S. 464 (1977) --------------------------------------------------------- 32

McMain v. Peters, 2018 WL 3732660 (D.Or. Aug. 2, 2018) ------------------------ 18

Pers. Adm’r of Mass. v. Feeney,442 U.S. 256 (1979) ---------------------------------- 32

Price v. City of Charlotte, N.C., 93 F.3d 1241 (4th Cir. 1996) ---------------- 15, 36

Raymond Lee X v. Johnson, 888 F.2d 1387 (4th Cir. 1989) ------------------------ 14


                                                -v-



     Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 5 of 47
Roller v. Gunn, 107 F.3d 227 (4th Cir. 1997) ------------------------------------------- 16

Saah v. Contel Corp., 978 F.2d 1256 (4th Cir.1992) --------------------------------- 33

Saks v. Franklin Covey Co., 316 F.3d 337 (2d Cir. 2003) ---------------------- 22, 32

Sandlands C & D LLC v. Cty. of Horry, 737 F.3d 45 (4th Cir. 2013) ------ 16, 22

Toomey v. Arizona, 2019 WL 7172144 (D. Ariz. Dec. 23, 2019)------------------- 27

Union Pac. R.R. Emp.Practices Litig., 479 F.3d 936 (8th Cir. 2007) ------------ 22

United States v. Olvis, 97 F.3d 739 (4th Cir. 1996) ---------------------------------- 22

Walls v. Ford Motor Co., 2021 WL 5206388 (M.D.N.C. Nov. 9, 2021) ------------ 4

Williams v. Hansen, 326 F.3d 569 (4th Cir.2003) ------------------------------------- 16

Willis v. Town of Marshall, N.C., 275 Fed. App’x 227 (4th Cir. 2008)---------- 17

STATUTES
§ 1557 of the Affordable Care Act, 42 U.S.C. § 18116, ----------------- 3, 14, 34, 36
N.C. Gen. Stat. Ann. § 135-48.2 -------------------------------------------------------------- 1
N.C. Gen. Stat. Ann. § 135-48.42(a) --------------------------------------------------------- 1
N.C. Gen. Stat. Ann. § 135-1(7a)(b) ------------------------------------------------- 31, 37

OTHER AUTHORITIES
81 Fed. Reg. 31429 (May 18, 2019) -------------------------------------------------------- 35
85 Fed. Reg. 37187 (June 19, 2020)---------------------------------------------------------35
Fed. R. Civ. P. 56(a) ------------------------------------------------------------------------- 4, 23
Fed. R. Evid. 702 -------------------------------------------------------------------------------- 12
Fed. R. Civ. P. 65(d)------------------------------------------------------------------------14, 18




                                                   - vi -



     Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 6 of 47
                         STATEMENT OF THE CASE

         The Court should deny Plaintiffs’ motion for summary judgment against

the Plan Defendants because their claims are inextricably tied to contested

facts.

         At the outset of their Memorandum in Support of Plaintiffs’ Motion for

Summary Judgment, Plaintiffs assert that “health coverage” is part of their

employee compensation, and thus the Plan’s “sweeping exclusion” for “gender-

affirming care” means Plaintiffs receive “less compensation than others” for

the same work. ECF No. 179 at 4. Plaintiffs further assert that because the

Plan provides certain drugs and surgeries “for other reasons,” it should pay for

“the same kinds of treatments” for their psychiatric diagnosis of gender

dysphoria.

         Each of these assertions is incorrect. The General Assembly and courts

of North Carolina are clear that state employees do not receive “health

coverage” as a part of compensation. Rather, the State “undertakes to make

available a State Health Plan,” N.C. Gen. Stat. Ann. § 135-48.2, and state

employees, such as Plaintiffs, are “given the opportunity to enroll or decline

enrollment” in a group plan at the time they are hired (but only if they meet

other eligibility criteria, such as working full-time), N.C. Gen. Stat. Ann. § 135-

48.42(a). In return for payment of a premium, the Plan pays money to health



                                          -1-


     Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 7 of 47
care providers to offset the member’s cost of treatment for various diagnoses

and procedures. Plaintiffs pay the same premiums as other members do, and

they receive the same coverage for the same illnesses. ECF No. 137 at 9-10.

      Second, “gender affirming care” has no accepted medical definition and

does not correspond to the actual delivery of healthcare services, and Plaintiffs

offer no definition in their motion for summary judgment. Plaintiffs have

invented this artificial category for litigation purposes to distinguish it from

“treatments for cisgender employees,” but no such distinction exists in the

world. ECF No. 179 at 4. Like the rest of the healthcare industry, the Plan uses

the medical coding system to determine whether to pay for specific medical

procedures to treat a specific diagnosis. ECF No. 137 at 10-11. When one

reviews the specific procedures that Plaintiffs do identify, they are offered to

everyone, including the Plaintiffs themselves, for treatment of the same

diagnoses. The Plan’s coding and payment practices make this clear. See ECF

No. 137 at 13-18.

      The ambiguity of the category “gender-affirming care” also distracts the

Court from understanding that some of the treatments that Plaintiffs seek are

not covered for anyone on the State Health Plan. Plaintiffs’ equal protection

claim—that they are denied the “kinds of treatments” offered to “cisgender

employees” for “other reasons,” ECF No. 179 at 4—cannot justify the


                                         -2-


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 8 of 47
expansion of Plan coverage to services that are offered to no one else for any

diagnosis.

      The Plan’s decision not to provide more generous health benefits is not a

violation of the equal protection clause, § 1557 of the Affordable Care Act, or

Title VII of the Civil Rights Act. The Plan has legitimate, non-discriminatory

reasons to deny coverage for hormonal and surgical treatment for gender

dysphoria. The Plan’s leadership has a fiduciary duty to all Plan members.

Consistent with this statutory duty, the Board has chosen to “focus on costs”

and limit spending to protect the long-term health and availability of the Plan.

The Plan’s “fiduciary responsibility to cover basic health” needs for Plan

participants, with limited dollars, requires that it focus on coverage for

illnesses that affect many Plan members (diabetes, rheumatoid arthritis, and

cancer) and is inconsistent with adding additional benefits for small “niche

groups” (including not only gender dysphoria, but also adult hearing aids,

special infant formula, and acupuncture) Ex. 1 (Jones. Dep.) at 104:20-105:24.

This is especially true when, as here, there is considerable uncertainty about

whether medical science supports these desired hormonal and surgical

interventions.




                                         -3-


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 9 of 47
                                 ARGUMENT

I.    Plaintiffs’ motion for summary judgment rests on disputed
      material facts.

      Summary judgment is appropriate when “the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A dispute is genuine if a

reasonable jury could return a verdict for the nonmoving party.” Jacobs v. N.C.

Admin. Off. of the Cts., 780 F.3d 562, 568 (4th Cir. 2015) (internal quotations

omitted). “[I]n deciding a motion for summary judgment, a district court is

required to view the evidence in the light most favorable to the nonmovant…

and to draw all reasonable inferences in his favor.” Harris v. Pittman,

927 F.3d 266, 272 (4th Cir. 2019). A court “cannot weigh the evidence or make

credibility determinations,” and thus must “usually” adopt “the nonmovant’s

version of the facts,” even if it seems unlikely that the moving party would

prevail at trial. Walls v. Ford Motor Co., 2021 WL 5206388, at *1 (M.D.N.C.

Nov. 9, 2021) (Biggs, J.) (quoting Jacobs, 780 F.3d at 569 and Witt v. W. Va.

State Police, Troop 2, 633 F.3d 272, 276 (4th Cir. 2011)).

      The parties fundamentally disagree on critical facts underlying

Plaintiffs’ claims, so the Plan Defendants respectfully submit that this Court

may not resolve their claims at summary judgment.




                                         -4-


     Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 10 of 47
      A.    The efficacy of Plaintiffs’ desired medical treatments
            presents a crucial dispute of material fact.

      First, Plaintiffs have not established the efficacy of the medical

treatments that they demand. Plaintiffs assert that undefined “gender

affirming care” procedures are medically necessary treatments for gender

dysphoria, and they have offered several experts who will testify about the

need for hormonal therapy and surgical procedures. Plaintiffs also ask this

Court to defer to the WPATH Guidelines as “authoritative standards of care”

for transgender individuals, and proof that these treatments are “medically

necessary and effective.” ECF No. 179 at 17, 20. In doing so, Plaintiffs ask this

Court to make a judgment about a significant medical controversy without any

review of the current scientific evidence. 1

      “[G]ender dysphoria was, until just a few years ago, a very rare

condition.” Ex. 3 (Hruz Rep.) at 41. Recent data, however, shows “the number

of people seeking care for gender dysphoria is rapidly increasing,” id. at 42,




1     Evidence before this Court shows that the WPATH Guidelines are far from a
      trustworthy resource. Dr. Stephen B. Levine, a licensed psychiatrist and
      Professor at Case Western Reserve University School of Medicine was a
      member of WPATH for almost 20 years. Ex. 2 (Levine Rep.) at 1. Dr. Levine
      explains that WPATH has become “a voluntary membership, activist advocacy
      organization” that accepts members who are not licensed medical professionals
      and “can no longer be considered a purely professional or scientific
      organization.” Id. at 36.


                                          -5-


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 11 of 47
and there has been a drastic “transformation of the patient population from

early onset males to rapid onset adolescent girls,” id at 67. For example, “[t]he

number of adolescent girls seeking sex transitioning” in the United Kingdom

increased “4,000% in the last decade.” Id. For many decades, the typical patient

with gender dysphoria was a biological male with a long, stable history of

dysphoria since early childhood. But in the past 10 years, this has changed

abruptly, and the typical patient is now an adolescent female with no

documented long-term history of gender dysphoria. Id. at 67-68. Scientists

have not explained this surprising shift, but such a quick change in a patient

population suggests that theories of the cause or causes of gender dysphoria

that are based on static features like “brain structures” or “genetics” are

incorrect. Id. at 69.

      While the patient population has changed and increased, the physical

interventions for gender dysphoria remain experimental. As Dr. Paul McHugh

noted in his expert report, “this controversial field has faced increasing

scrutiny” in recent years, with “national research reviews in England, Sweden,

and Finland” and other studies finding that “the evidentiary base for these

experimental treatments is weak;” hormonal and surgical treatments

demonstrate “few benefits” and may actually “cause more harm than good.”

Ex. 4 (McHugh Rep.) at 10.


                                         -6-


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 12 of 47
      There are no long-term, peer-reviewed, reliable research studies that

allow physicians to know “the percentage of patients receiving gender

transition procedures who are helped by such procedures, using objective

criteria” or the “percentage of patients receiving gender transition procedures

who are harmed by such procedures, measured with objective criteria.” Ex. 2

(Levine Rep.) at 87 (emphasis added).

      While patients may say, when interviewed, that they have benefited

from hormone and surgical treatment, the current peer-reviewed scientific

literature has not found evidence to support these subjective claims. As

Plaintiffs note, a diagnosis of gender dysphoria requires more than a feeling of

“dissonance” between one’s perceived gender and one’s biological sex; the

patient must also suffer “clinically significant distress or significant

impairment of functioning.” ECF No. 179 at 17-18. Patients identify

depression or anxiety as debilitating symptoms of gender dysphoria, and they

assert anecdotally, after hormone therapy or surgery, that they feel less

anxious   or   depressed.   But   when    follow-up   studies   track   objective

measurements, like use of antidepressants and anti-anxiety medication, there




                                         -7-


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 13 of 47
is no measurable difference between patients who receive hormone therapy or

surgery and those who do not. 2

      In particular, the “affirmation” model of care—the basis for the WPATH

Guidelines—is not supported by existing medical science. “The available data

does not support the contention that ‘affirmation’ of transgender identity

reduces suicide or results in better physical or mental health outcomes

generally.” Ex. 2 (Levine Rep.) at 45, 45-69. Finland, Sweden, and United

Kingdom have retreated from prior medical policies on cross-sex hormones and

surgical treatments. Medical providers in these countries now restrict the use

of hormones and surgery in minors based on identified gaps in the medical

science. Id. at 51-55. “The current status of the field of gender affirmation

treatments has been labelled ‘low quality’ science by multiple reviews.” Id. at

56. Studies have concluded that the field of affirmation treatments is “still at

the experimental stage lacking in general acceptance within the relevant


2     The lack of valid, reliable scientific data about the effect of gender dysphoria
      treatments has ethical consequences, especially when a patient seeks surgery.
      “Since the abandonment of frontal lobotomies in 1967, there has been no other
      psychological condition for which surgery is performed, and there is no other
      area of surgical care where the diagnostician is the patient themselves, and
      the surgeon has no means of confirming or rejecting the diagnosis.” Ex. 5
      (Lappert Rep.) at 23-24. Valid surgical consent requires that a surgeon be able
      to ensure that a diagnosis is correct. Id. at 24. The surgical procedures involved
      in gender transition can have very high complication rates, with one procedure
      having a rate of complication over 50%, making it even more important to have
      confidence in treatment benefits. Id. at 29-39.


                                            -8-


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 14 of 47
scientific communities and without known error rates for the efficacy of the

treatment.” Id.

      Striking scientific evidence was made public in 2020. The American

Journal of Psychiatry published a study of individuals in Sweden with gender

dysphoria. Id. at 57-58. Researchers used national health system data to

research individuals with gender dysphoria in 2005 and again in 2015. The

study sought to determine whether individuals who used cross-sex hormones

or underwent surgery had, ten years later, lower use of anti-anxiety medication

or anti-depressants, fewer mental health visits, or fewer hospitalizations

connected to unsuccessful suicide attempts (i.e. improved mental health) when

compared to individuals who did not receive these treatments. Ex. 6

(Branstrom & Pachankis; Follow-up Letters). After review of the study’s data,

outside experts and the authors agreed that the evidence did not show that

hormone treatment or surgery improves the mental health of patients with

gender dysphoria. Ex. 2 (Levine Rep.) at 57-63. Indeed, patients who received

surgery “were more likely to be treated for anxiety disorders” than those who

did not. Id. at 63. 3



3     This conclusion—that hormone treatment for gender dysphoria does not
      reduce mental healthcare needs—is supported by a 2021 study in the peer-
      reviewed Journal of Sexual Medicine. Looking over time at adolescents who
      received cross-sex hormones, researchers found the patients’ “mental health


                                         -9-


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 15 of 47
      Dr. Paul W. Hruz, M.D., Ph.D. is a pediatric endocrinologist and a

Professor of Medicine at the Washington University School of Medicine in St.

Louis. Ex. 3 (Hruz Rep.) at 2. He is also the only endocrinologist—i.e., a

physician with specific expertise in the endocrine system (hormones)—to

provide an expert opinion in this case. Dr. Hruz’s opinion is that hormone

therapy and surgery are “experimental, highly intrusive, and potentially

harmful medical procedures” that lack “credible, reliable, and valid scientific

support.” Id. at 7-8. As one example, scientists understand that sex hormones

affect brain development, but this knowledge “is in its rudimentary stages

right now.” Ex. 7 (Hruz Dep.) at 285:1-286:11. Testosterone appears to have

some effect on brain development for biological males, and this finding creates

“many reasons to be concerned and question” what the effect of puberty

suppressing medications or testosterone has on the brain of a biological female.

Id. at 285:1-287:2. At this time, any effect is completely unknown. Plaintiffs

respond to these concerns by citing to guidelines from the Endocrine Society

regarding hormone therapy, but the guidelines explicitly state that “the

strength of recommendations and the quality of evidence was low or very low”




      utilization remained elevated” even after hormone treatment, and the “use of
      psychotropic medications increased.” Ex. 7 (Hruz Dep.) at 269:8-271:6. See also
      Ex.8 (Hisle-Gorman).


                                          - 10 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 16 of 47
in support of these treatments. Ex. 3 (Hruz Rep.) at 53. “Low” and “very low”

are terms of art. A “low recommendation” means that “[f]urther research is

very likely to have an important impact on our confidence in the estimate of

effect and is likely to change the estimate.” Very low recommendations mean

that “any estimate of effect is very uncertain.” Id.

      Plaintiffs’ experts do not inform the Court about this current, raging

scientific controversy. Instead, Plaintiffs shift the argument to assertions that

the Plan has changed its mind about the efficacy of Plaintiffs’ desired

treatments, or that, in any event, any concerns are misplaced. ECF No. 179

at 27-30. In doing so, Plaintiffs improperly shift the burden of proof.

      The Plan need not demonstrate that Plan officials are experts on medical

care. It is the Plaintiffs who must demonstrate that the medical evidence

supporting their proposed treatments is so strong that it would be “irrational”

to “disfavor” coverage for such procedures. Bray v. Alexandria Women’s Health

Clinic, 506 U.S. 263, 270 (1993). They cannot. Not a single drug has been FDA-

approved for treatment of gender dysphoria. ECF No. 137 at 18.

      Plaintiffs assert that these treatments have reduced their symptoms,

ECF No. 137 at 5-9, but anecdotal evidence cannot establish that it is

unconstitutional to reach a different conclusion about medical science. The

existing   scientific   ambiguity   demonstrates       it   would   be   profoundly


                                         - 11 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 17 of 47
inappropriate for this Court enter an injunction at summary judgment, as

Plaintiffs ask, and order the Plan to pay for Plaintiffs’ desired medical

treatment.

      B.     Plaintiffs’ purported expert evidence is not appropriate for
             resolution without consideration by the factfinder.

      To avoid the ongoing scientific controversy, Plaintiffs place extensive

reliance upon guidelines issued by the World Professional Association for

Transgender Health and the Endocrine Society. But this Court cannot

summarily resolve this case by adopting such opinions as its own. Daubert v.

Merrell Dow Pharms., Inc., 509 U.S. 579, 584 (1993). Prior to Daubert, courts

asked whether a scientific opinion is based on a scientific technique that is

“‘generally accepted’ as reliable in the relevant scientific community.” Daubert,

509 U.S. at 584. Adoption of the Federal Rules of Evidence eliminated this

standard. Instead, Plaintiffs must provide more.

      Daubert held that to be admissible, expert testimony must be “not only

relevant, but reliable”—i.e., it must impart “‘scientific knowledge’” “derived by

[a] scientific method” and “supported by appropriate validation.” 509 U.S.

at 589-590 (emphasis added). Federal Rule of Evidence 702 requires courts to

determine not only that expert testimony is “the product of reliable principles




                                         - 12 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 18 of 47
and methods,” but also that the expert has “reliably applied” those principles

and methods to the facts of the case before admitting testimony.

      Reference to the holdings of a professional association can be relevant

under Daubert, but the WPATH Guidelines do not accurately reflect medical

science, having been developed by          a “private, activist, non-science

organization” that “takes a very narrow and politically-ideologically driven

view on increasingly controversial issues as to which there is a wide range of

opinion among professionals.” Ex. 2 (Levine Rep.) at 36, 35-40. “When policy is

made by voting in the face of low quality science, claims that treatments are

evidence-based should be considered misleading and deceptive.” Id. at 89.

      C.    Plaintiffs’ characterization of the Plan’s coverage decisions
            is contradicted by the facts.

      Another factual dispute arises, in part, from disagreement over medical

efficacy. Because Plaintiffs are certain about the effect of their desired

treatments, they assert that no possible motive other than sex stereotyping or

discriminatory animus could justify the Plan’s coverage decisions. This is not

supported by the evidence. The Plan’s decision has no animus associated with

it. Rather, the timeline is transparent. The Plan received federal funding from

the Retiree Drug Subsidy program. When the federal government attached

new requirements to this funding—requiring that the Plan cover the Plaintiffs’




                                        - 13 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 19 of 47
desired benefits—the Plan complied, but the Board of Trustees’ approval in

2016 was temporary due to their uncertainty regarding the benefits. When this

funding condition was enjoined, later to be rescinded, the Plan allowed the

benefits to expire when the initial approval sunset. Ex. 1 (Jones Dep.) at 69:9-

19; 56:12-57:25. As the courts have repeatedly recognized, health plans are

permitted to cover some illnesses and not others. In this case, the Board of

Trustees focused on reducing the overall cost of treatment under the Plan and

covering illnesses that affect large numbers of members.

      D.    Plaintiffs have failed to provide any evidence for crucial
            questions of fact.

      Several remaining factual disputes arise from Plaintiffs’ failure to

develop evidence to carry their burden of proof. Plaintiffs repeatedly refer to

“gender-confirming care,” but they have never defined or otherwise provided a

concrete list of the procedures that comprise such care. Plaintiffs seek

injunctive relief for the alleged violation of the Equal Protection clause, ECF

No. 75 at 37, but this Court cannot grant summary judgment and order such

relief without clarity about exactly how the Plan is to comply. The Plan can no

more be ordered to provide undefined “gender-confirming care” than a prison

can be ordered to accommodate religious “dietary requirements.” Raymond Lee

X v. Johnson, 888 F.2d 1387 (4th Cir. 1989) (holding “Muslim dietary




                                        - 14 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 20 of 47
requirements” insufficiently clear requirement to impose as an injunction

under Fed. R. Civ. P. 65(d)).

      Moreover, under both § 1557 of the Affordable Care Act, 42 U.S.C.

§ 18116, and Title VII, Plaintiffs seek damages. But they have not presented

any evidence for these damages. Plaintiffs seek damages for “financial harm,”

ECF No. 75 at 42, 44-45, but present no calculations or medical bills. Without

such evidence, the Court cannot award summary judgment. Plaintiffs allege

emotional damages, id., but they have neither identified nor attempted to

quantify the “independent compensable harm” that resulted from the alleged

violation. Price v. City of Charlotte, N.C., 93 F.3d 1241, 1248 (4th Cir. 1996).

      Indeed, Plaintiffs have not submitted any medical records to this Court

that prove they suffer from gender dysphoria. As noted in the Plan Defendants’

response to the Plaintiffs’ Motion to Seal, ECF No. 190 at 6-7, Plaintiffs

submitted an expert report from George Brown, M.D., which includes

statements about Plaintiffs’ medical histories. Dr. Brown’s report, however,

does not specifically cite any of Plaintiffs’ medical records, and he expressly

disavowed that he himself was engaged in the practice of medicine (which is

required to provide a medical diagnosis). Id.




                                         - 15 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 21 of 47
II.    Plaintiffs have not provided sufficient evidence to receive
       summary judgment on their claim pursuant to the Equal
       Protection Clause of the 14th Amendment.

       A.      Plaintiffs have not identified a group of individuals, with
               whom they are similarly situated, who are treated
               differently.

       The Equal Protection Clause of the 14th Amendment is “essentially a

direction that all persons similarly situated should be treated alike.” Grimm v.

Gloucester Cty. Sch. Bd., 972 F.3d 586, 635 (4th Cir. 2020) (quoting City of

Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985) (emphasis in

original)). Plaintiffs must therefore produce evidence that the Plan is “treating

differently persons who are in all relevant respects alike.” Id. (emphasis in

original). 4

       This is a sequential analysis. First, Plaintiffs must make an “initial

showing” they have been “intentionally treated differently” from others who

are “similarly situated.” Sandlands C & D LLC v. Cty. of Horry, 737 F.3d 45,

55 (4th Cir. 2013). The court does not apply constitutional scrutiny—whether

rational-basis or heightened—until after a plaintiff has made this showing of




4      The Defendants note that Plaintiffs can still demonstrate an Equal Protection
       violation if they can prove that a discriminatory animus motivated the
       adoption of a facially neutral policy that is neutrally applied. Williams v.
       Hansen, 326 F.3d 569, 584 (4th Cir.2003). Plaintiffs must proceed to trial,
       however, and allow the jury to weigh competing evidence of the Plan’s intent.


                                          - 16 -


      Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 22 of 47
similarity. Id. Without proof that two groups are “similarly situated,” the Court

has no basis to proceed with an equal protection analysis. “The Constitution

does not require things which are different in fact … to be treated in law as

though they were the same.” Roller v. Gunn, 107 F.3d 227, 234 (4th Cir. 1997)

(quoting Tigner v. Texas, 310 U.S. 141, 147 (1940)).

      To satisfy the “similarly situated” standard, Plaintiffs must identify a

comparative group of persons who are (1) materially identical to them but who

(2) have received different treatment. “[A]pples should be compared to apples.”

Barrington Cove Ltd. P’ship v. R.I. Hous. & Mortg. Fin. Corp., 246 F.3d 1, 8

(1st Cir. 2001). Two compared groups must be “identical or directly comparable

in all material respects,” LaBella Winnetka, Inc. v. Village of Winnetka,

628 F.3d 937, 942 (7th Cir. 2010), or “prima facie identical,” Grider v. City of

Auburn, Ala., 618 F.3d 1240, 1264 (11th Cir. 2010). The Fourth Circuit

requires that the “evidence must show an extremely high degree of similarity.”

Willis v. Town of Marshall, N.C., 275 Fed. App’x. 227, 233 (4th Cir. 2008); see

also LaBella, 628 F.3d at 942 (“The similarly situated analysis is not a precise

formula, but … what is clear is that similarly situated individuals must be very

similar indeed.”).

      Providing different medical treatments for different medical diagnoses

does not violate equal protection. “[A] function of medical diagnosis is to


                                         - 17 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 23 of 47
determine in what ways individuals are not similarly situated so that they can

be treated accordingly.” Gann v. Schramm, 606 F. Supp. 1442, 1447 (D.

Del. 1985). This remains true even when different diagnoses have the same

treatment. Flaming v. Univ. of Texas Med. Branch, 2016 WL 727941, at *9

(S.D. Tex. Feb. 24, 2016). An individual with testicular cancer may need

testosterone injections, but that person is not ‘similarly situated’ to someone

with gender dysphoria. McMain v. Peters, 2018 WL 3732660, at *3-4 (D.Or.

Aug. 2, 2018).

       This failure to define who is “similarly situated” to the Plaintiffs is

exacerbated by the WPATH Guidelines on which Plaintiffs rely. Plaintiffs

repeatedly cite the WPATH Guidelines as a “consensus” approach to the

medical care they need, ECF No. 179 at 17-19, but when asked about that care,

emphasize that the Guidelines are expressly “meant to be flexible standards,”

Ex. 13 (Brown. Dep.) at 160:8-18, that “individual health professionals and

programs may modify themselves.” Eli Coleman, et al., STANDARDS OF CARE

FOR     THE   HEALTH    OF   TRANSSEXUAL,        TRANSGENDER,   AND   GENDER-

NONCONFORMING PEOPLE, v.7 at 2 (2012) (WPATH Guidelines). The term

“gender affirming care” thus means anything the Plaintiffs, or an individual

physician, believes could be helpful to a child or adult with gender dysphoria.

This vague concept, which Plaintiffs advance despite the encyclopedic coding


                                        - 18 -


      Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 24 of 47
system adopted by the federal government for medical diagnoses and

procedures, is not sufficient information to permit the determination whether

one Plan participant is “similarly situated” to another. 5

      Plaintiffs, and the two out-of-circuit district court cases they cite, do not

acknowledge or even consider this initial requirement of an equal protection

analysis. See, e.g., Fletcher v. Alaska, 443 F.Supp.3d 1024, 1030-31 (D.

Alaska 2020).    This   failure   is   most   clear   in     Boyden   v.   Conlin.

341 F.Supp.3d 979, 995 (W.D. Wis. 2018). In that case, the district court

assumed, without medical evidence, that a person with an unidentified genetic

birth defect (“born without a vagina”) is similarly situated to an individual with

gender dysphoria, but then held that “no reasonable factfinder” could conclude

without additional medical evidence that “a cisgender woman’s depression

because of small breast size” (which was not covered) “is medically comparable

to gender dysphoria.” Id.

      If Plaintiffs want this Court to make similar findings, then at a minimum

they need to show “medically comparable” diagnoses. Id. Plaintiffs do not. They

argue only that if the Plan provides “the same kinds of treatments” for “other


5     This vagueness also prevents the Court from simply relying on the WPATH
      Guidelines to define the healthcare procedures at issue. An injunction must
      “describe in reasonable detail—and not by referring to the complaint or other
      document—the act or acts restrained or required.” Fed. R. Civ. P. 65(d).


                                         - 19 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 25 of 47
reasons,” then it must also cover their desired treatment for gender dysphoria.

ECF No. 179 at 4. In doing so, Plaintiffs claim that hormones, puberty-

delaying hormones, mammoplasty and breast reduction, vaginoplasty, and

hysterectomies are available only for “cisgender participants” but not for

“transgender people.” ECF No. 179 at 12.

      This is false. The Plan does not identify or track or record whether any

participant is transgender, cisgender, non-binary or otherwise. ECF No. 137

at 14. The Plan evaluates whether the billed medical procedure corresponds to

a covered diagnosis. For prescription medicines that are neither costly nor

subject to abuse, neither the Plan nor CVS/Caremark (the Plan’s Pharmacy

Benefit Manager) ever know the reason for the prescription (i.e. the patient’s

diagnosis). Id. at 17-18. Those claims are paid.

      Some prescription drugs are subject to special restrictions because they

are expensive or subject to abuse. Each of these drugs must be prescribed for

an FDA-approved diagnosis or for cancer treatment. Id. When these drugs are

prescribed “off-label” for any other use, including treatment of gender

dysphoria, they are denied. For example, the Plan requires prior authorization

for some testosterone prescriptions. See Ex. 9 (CVS/Caremark, Prior

Authorization Criteria). The authorization criteria identify the covered

diagnoses: primary hypogonadism, hypogonadotropic hypogonadism, and


                                        - 20 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 26 of 47
metastatic mammary cancer. Id. No individual ever receives a testosterone

prescription to “reaffirm an individual’s natal sex” or to “diverge[ ] from an

individual’s natal sex.” ECF No. 179 at 21. Nothing in the authorization

document refers to transgender individuals; prescriptions are authorized for

both men and women.

      The Plan applies the same restrictions—that the prescription is used to

treat an FDA-approved diagnosis or to treat cancer—to hormone suppressing

drugs that are covered by Specialty Guideline Management: Supprelin (central

precocious puberty in all children), Eligard (prostate cancer and certain

salivary gland tumors); Vantas (prostate cancer); Zoladex (prostate cancer,

endometriosis, breast cancer); Triptodur (central precocious puberty in all

children); and Trelstar (prostate cancer). See Ex. 10. Plaintiffs qualify for these

prescriptions on the exact same basis as every other Plan participant.

      For surgeries, again, the Plan authorizes payment based on diagnosis

and procedure code. The Plan provides mastectomies for breast cancer,

gynecomastia, breast reduction for macromastia (when breast size causes neck,

back, and shoulder pain), and for individuals with a high risk of breast cancer.

Ex. 11 (Blue Cross Blue Shield of North Carolina, Corporate Medical Policy,

Breast Surgeries, August 2020. These patients can also, if they desire, receive

breast reconstruction, but this is not the result of a Plan design or “sex


                                          - 21 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 27 of 47
stereotypes.” Federal law requires it. Every group health plan that provides

“medical and surgical benefits with respect to a mastectomy” must provide “all

stages of reconstruction of the breast on which the mastectomy has been

performed” and “surgery and reconstruction of the other breast to produce a

symmetrical appearance.” 29 U.S.C. § 1185b(a). 6

      Payment for a specific procedure is not based on the sex or transgender

identity of the patient; rather, the denial of coverage arises from the diagnosis.

At deposition, at least some of the Plaintiffs conceded this point. See, e.g.,

Ex. 12 (M. Bunting. Dep.) at 108:11-20 (Plaintiff does not assert that the “Plan

does not pay for any of [C.B.’s] medical treatment,” but rather that the Plan

does not “cover treatment connected to [C.B.’s] gender dysphoria.”). See Saks

v. Franklin Covey Co., 316 F.3d 337, 342 (2d Cir. 2003) (applying similar

analysis to infertility); In re Union Pac. R.R. Employment Practices Litig.,

479 F.3d 936, 942, 944 (8th Cir. 2007) (contraceptive coverage).

      “Generally, in determining whether persons are similarly situated for

equal protection purposes, a court must examine all relevant factors.” United

States v. Olvis, 97 F.3d 739, 744 (4th Cir. 1996) (emphasis added). Sandlands




6     The Plaintiffs claim there is a discrepancy in coverage of hysterectomies, ECF
      No. 179 at 12, but the Plan has no procedure codes that limit hysterectomies
      in connection with a diagnosis of gender dysphoria, ECF No. 137 at 15-17.


                                          - 22 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 28 of 47
C & D LLC, 737 F.3d at 55. Plaintiffs’ motion for summary judgment fails at

this threshold inquiry because they have not produced any evidence to

establish that an individual with gender dysphoria is “identical or directly

comparable in all material respects,” LaBella Winnetka, 628 F.3d at 942, or

“prima facie identical,” Grider, 618 F.3d at 1264, to an individual with a

different medical diagnosis, such as breast or prostate cancer.

      At the summary judgment stage, these relevant factors must be resolved

against the Plaintiffs. The Court must assume that the differences between

the diagnosis of gender dysphoria and other diagnoses are significant, and that

the medical efficacy of the treatments differs, creating a “genuine dispute” of

“material fact.” Fed. R. Civ. P. 56(a).

      B.    Plaintiffs have not established that the State Health Plan
            imposes facial classifications on its beneficiaries

      “Whether an employment practice involves disparate treatment through

explicit facial discrimination does not depend on why the employer

discriminates but rather on the explicit terms of the discrimination.” Int’l

Union, United Auto., Aerospace & Agr. Implement Workers of Am., UAW v.

Johnson Controls, Inc., 499 U.S. 187, 199 (1991). The Plaintiffs argue that the

Plan discriminates, on its face, against the Plaintiffs. They do so based on the




                                          - 23 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 29 of 47
Plan’s benefit booklet, which states that the Plan does not cover, among other

medical treatments, the following services:

            Treatment or studies leading to or in connection with
            sex changes or modifications and related care.

The text of this exclusion, however, does not distinguish between individuals

on the basis of sex, gender, or transgender status. To be facial discrimination,

the provision must distinguish between men and women. It does not. To

discriminate against transgender individuals, it must separate the health care

available to transgender individuals from the health care available to others.

The provision does not.

      Plaintiffs attempt to establish facial discrimination under two broad

lines of reasoning. First, and primarily, Plaintiffs assert that the State Health

Plan improperly denies coverage for certain “medically necessary care … based

on an employee’s birth-assigned sex.” ECF No. 153 at 17. But by focusing on

their individual desires for specific medical treatments, Plaintiffs miss the

broader context of how those treatments are prescribed, administered, and

paid for across the healthcare industry.




                                           - 24 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 30 of 47
      Plaintiffs are mistaken in their assertion that the Plan’s exclusion of

certain coverage is “discriminating against a person for being transgender,”

“based on gender transition,” or “based on an employee’s birth-assigned sex.”7

ECF No. 153 at 16-18. The Plan excludes coverage for specific procedures if

they are prescribed for treatment of the psychiatric diagnosis of gender

dysphoria. Ex. 1 (Jones Dep.) at 15:1-16:23, 117:10-18:5.

      Payment hinges solely on the medical condition and the procedure

performed to treat it, which is determined independently of the Plan by the

patient’s chosen healthcare provider. Unlike in Bostock v. Clayton County,

140 S. Ct. 1731 (2020), where the employer both evaluated the Plaintiff’s

biological sex and terminated the employee after considering that information,

a patient’s biological sex and/or expressed gender play no role in Plan coverage.

For example, the Plan covers breast reduction surgery for a transgender man

with a family history of breast cancer, a hysterectomy for a transgender man

suffering from endometriosis, testosterone treatment for a transgender woman




7     Plaintiffs improperly conflate these three distinct equal protection claims into
      a single element of “discrimination.” Discrimination based on gender identity
      and discrimination based on biological sex operate in different ways.
      Furthermore, Plaintiffs make no effort to clarify whether they allege
      discriminatory animus, disparate impact, or both. In sum, the breadth and
      vagueness of Plaintiffs’ assertions highlight their misunderstanding of the
      specific policy grounds for the State Health Plan’s coverage policies.


                                           - 25 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 31 of 47
based on specific hormonal needs, or genital constructive surgery for any

transgender (or cisgender) person with relevant injuries from a workplace or

automobile accident. Ex. 14 (BCBS Decl.) at ¶ 28.

      As the Plan has shown, ECF No. 137 at 14, none of its coverage decisions

for gender dysphoria consider a patient’s sex. It is unclear whether Plaintiffs’

claim of discrimination is that any coverage decision is subject to heightened

scrutiny if the healthcare provider considered the patient’s biological sex as

part of the diagnostic process. Healthcare providers must know a patient’s sex

for every medical diagnosis. While hormones or surgical procedures can alter

the visual appearance of a patient, “the biology of the person remains as

defined by genetic makeup, normatively by his (XY) or her (XX) chromosomes,

including cellular, anatomic, and physiologic characteristics and the particular

disease vulnerabilities associated with that chromosomally-defined sex.” Ex. 3

(Hruz Rep.) at 66. As but one example how this is so: under the clinical

guidelines for cardiovascular health, male biological sex is, by itself, a risk

factor indicating preventive intervention. Ex. 15 (Robie. Dep.) at 70:13-71:25.

Competent medical care requires every diagnosing physician to know and to

consider the patient’s biological sex. Id. This does not, however, make the




                                        - 26 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 32 of 47
physician an agent of the Plan or mean that the Plan itself has looked beyond

the diagnosis that this independent actor has supplied. 8

      Gender dysphoria is a mental illness that affects some people who are

transgender and some who are not, Ex. 16 (Ettner Dep.) at 28:11-13, Ex. 17

(Levine Dep.) at 241:24-243:20, and the proportion of transgender individuals

who suffer from this condition is entirely unknown. Ex. 13 (Brown Dep.)

at 92:17-25. Many transgender people do not suffer from gender dysphoria at

all. Ex. 16 (Ettner Dep.) at 28:11-13; Ex. 17 (Levine Dep.) at 241:24-243:20.

Furthermore, “there may be people who have symptoms of gender dysphoria,

but they personally don’t identify as transgender.” Ex. 18 (Karasic Dep.)

at 27:25-28:17; Ex. 17 (Levine Dep.) at 241:24-243:20. As a result, Plaintiffs’

assertion that “transgender individuals are the only people who would ever

seek” treatments for gender dysphoria is flatly contradicted by the testimony



8     In contrast to the information before a treating physician, the Plan sees only
      the information on the standard reimbursement form for health insurance,
      adopted by BCBSNC and the entire healthcare industry. This form does
      require each healthcare provider to report the patient’s sex, but this can be
      biological sex or expressed gender; the information is irrelevant because the
      coverage decisions here do not consider this information at all. ECF No. 137
      at 10-11. The Plan also receives bills that use the diagnostic codes developed
      by the World Health Organization and required by HHS, as is the case for
      every other participant in the healthcare industry. While some diagnostic or
      procedure codes are sex-specific, see, e.g., ECF No. 137 at 10, this does not
      mean that the Plan has made any decision other than to use coding required
      by the healthcare industry.


                                          - 27 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 33 of 47
of their own medical experts submitted to this Court. ECF No. 139 at 16 (citing

Toomey v. Arizona, 2019 WL 7172144 at *6 (D. Ariz. Dec. 23, 2019)). 9

      The Plan’s benefits, and limits on coverage, apply equally, and they are

implemented without any knowledge of the beneficiary’s sex or gender. Ex. 14

(BCBS Decl.) at ¶¶ 22,28. The Plan’s benefit scheme therefore cannot be shown

to discriminate facially on the basis of sex. This remains true even if one

assumes, incorrectly, that only transgender individuals suffer from gender

dysphoria. Ex. 16 (Ettner Dep.) at 28:11-13; Ex. 17 (Levine Dep.) at 241:24-

243:20.

      In Geduldig v. Aiello, the Supreme Court held that the exclusion of

pregnancy from an insurance program was not facially “sex-based” even

though only (biological) females become pregnant. 417 U.S. 484, 496 n.20

(1974). There is “no risk from which men are protected and women are not.

Likewise, there is no risk from which women are protected and men are not.”

Id. at 496. “The lack of identity between the excluded disability and gender as



9     Plaintiffs rely on the denial of a motion to dismiss in Toomey v. Arizona, 2019
      WL 7172144 (D.Ariz. 2019) to support their motion for summary judgment.
      Toomey decided only that a particular plaintiff had stated a claim “that is
      plausible on its face,” accepting all allegations and reasonable inferences as
      true, Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This standard is in sharp
      contrast to Plaintiffs’ motion here for summary judgment, under which the
      Plaintiffs themselves must produce evidence there is “no genuine dispute as to
      any material fact.”


                                          - 28 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 34 of 47
such under this insurance program becomes clear upon the most cursory

analysis.” Id.

      The program divides potential recipients into two groups—
      pregnant women and nonpregnant persons. While the first group
      is exclusively female, the second includes members of both sexes.
      The fiscal and actuarial benefits of the program thus accrue to
      members of both sexes.

Id. at 496 n.20. This case is the same. Not all transgender individuals suffer

from gender dysphoria. Ex. 16 (Ettner Dep.) at 28:11-13; Ex. 17 (Levine Dep.)

at 241:24-243:20; Ex. 13 (Brown Dep.) at 92:17-25. The Supreme Court’s

reasoning in Aiello controls the analysis here:

      The program divides potential recipients into two groups—
      [individuals who suffer from gender dysphoria and individuals
      who do not. Even if] the first group is exclusively [transgender (and
      the evidence shows it is not)], the second group includes [both
      transgender and non-transgender individuals]. The fiscal and
      actuarial benefits of the program thus accrue to members of both
      [groups]

Aiello, 417 U.S. at 496. Under the Plan, transgender females have the same

coverage as a transgender males, and both transgender males and females

have the same coverage as cisgender males and females.

      Plaintiffs may feel that the Plan burdens them unfairly as transgender

people, but this does not establish discrimination. Aiello holds that an

insurance exclusion that disparately impacts members of a particular class is




                                         - 29 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 35 of 47
not discrimination without evidence of discriminatory intent. 10 417 U.S. at

496 n.20. Plaintiffs have made no effort to establish discriminatory intent

beyond vague references to “impermissible stereotyping.” This is precisely the

type of contested fact that must proceed to trial. The Plan’s exclusion of certain

treatments for the psychiatric condition of gender dysphoria does not stem

from any view about what healthcare Plaintiffs should receive; it stems from

judgment about how to best provide medical care for all members in light of

existing regulations, the health care needs for all patients covered by the Plan,

and limited financial resources. Ex. 1 (Jones Dep.) at 73:4-75:8.

      Plaintiffs must proceed to trial and provide more: evidence of

discriminatory intent. They cannot prevail only with assertions that gender

dysphoria disproportionately affects members of a protected class. See Lange




10    Plaintiffs argue that Aiello has been overruled, ECF No. 188 at 5-6, but this is
      flatly incorrect. The Pregnancy Discrimination Act and cases cited by Plaintiffs
      “cast[ ] no doubt on the continuing vitality” of Aiello. Bray, 506 U.S. at 273 n.3.
      Nor does Bostock permit this Court to depart from Aiello’s reasoning and
      analysis. Bostock involved statutory interpretation. 140 S.Ct. at 1738. The
      Court did not consider whether the same analysis should apply in cases
      involving the Equal Protection Clause. When a Supreme Court precedent “has
      direct application in a case, yet appears to rest on reasons rejected in some
      other line of decisions,” the lower court must “follow the case which directly
      controls, leaving to [the Supreme Court] the prerogative of overruling its own
      decisions.” Agostini v. Felton, 521 U.S. 203, 237 (1997).




                                            - 30 -


     Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 36 of 47
v. Houston Cty., 499 F. Supp. 3d 1258, 1275-77 (M.D. Ga. 2020) (insurance

exclusion for gender dysphoria not facially discriminatory).

      C.    Plaintiffs have not established any legal authority for their
            claims that the Plan has an obligation to provide any
            member with specific medical care or that the refusal to do
            so is improper.

      Plaintiffs’ motion for summary judgment devotes significant time and

attention to assertions that “medical treatment for gender dysphoria is

medically necessary and effective.” ECF No. 179 at 17-20. The claim that

denial of medically necessary care inherently constitutes discrimination is

mistaken, because the Plan has no obligation to cover medically necessary care

for participants.

      Plaintiffs assert that health benefits are “compensation” to employees.

ECF No. 179 at 4. This is false. The General Assembly of North Carolina has

explicitly provided that “employer-provided fringe benefits,” which include

“health, life or disability plans,” are not “compensation.” N.C. Stat.

§ 135-1(7a)(b). “A State employee receives the benefits of the State Health Plan

only when needed,” so the agency’s payment to the Plan to offset the cost of

these health benefits is not part of the employee’s wages. Kirk v. State,

465 S.E.2d 301, 306 (N.C. Ct. App. 1995). “The State endeavors to ‘make

available a State Health Plan.’ But “[m]aking available and providing access




                                        - 31 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 37 of 47
does not create any specific contractual financial obligation.” Lake v. State

Health Plan for Tchrs. & State Emps., 825 S.E.2d 645, 656 (N.C. Ct. App. 2019).

      Plaintiffs’ participation or “subscription” to the Plan does not guarantee

any particular health benefits. “The value of this benefit [participation in the

health plan] cannot be quantified.” Kirk, 465 S.E.2d at 306. Moreover, the facts

clearly indicate that the medical necessity of a given treatment is irrelevant to

the State Health Plan’s policies. The Plan declines to cover any number of

“medically necessary” treatments and procedures, and it is well within its

rights to do so. Ex. 1 (Jones Dep.) at 58:12-15; 72:4-6. The Plan is not a doctor.

Its duty is not to guarantee maximalist treatment for every member; rather,

its duty is to maximize value for the whole of its members. The Plan’s “package

of services has the general aim of assuring that individuals will receive

necessary medical care, but the benefit provided remains the individual

services   offered—not    ‘adequate   health      care.’”   Alexander   v.   Choate,

469 U.S. 287, 303 (1985).

      Accordingly, any differences in the “individual services offered” by the

Plan stems from its discretionary analysis of the applicable regulations, the

relative priority of different treatments, and the available resources—not

“because of … its adverse effects” upon Plaintiffs or any other group. Pers.

Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979).


                                         - 32 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 38 of 47
      The federal courts have endorsed insurers’ rights to make these

decisions. Even when a patient has a fundamental right to a medical procedure

and cannot afford to pay for it, the Constitution does not require that the Plan

cover it; if anything, this barrier to care (refusal to pay for a procedure)

represents a wealth classification based on individuals’ ability to pay for

certain treatment, not an actionable form of discrimination under the ACA or

on equal protection grounds. See Maher v. Roe, 432 U.S. 464, 471 (1977). The

Plan’s policies discriminate against Plaintiffs “only in the same sense that

[they] discriminate[ ] against those who might need penile prosthetic implants

(which may be medically necessary to cure impotence), Kerato-refractive eye

surgery (which may be medically necessary to cure vision defects), hearing aids

(which may be medically necessary to overcome deafness), or those who suffer

from eating or sleep disorders: they must pay for those procedures or devices

themselves.” Saks v. Franklin Covey Co., 117 F.Supp.2d 318, 329 (S.D.N.Y.

Oct. 2, 2000). All Plan members, including Plaintiffs, receive the actuarial

benefit of this—and every other—coverage limit. Just as not all women are

pregnant, not all transgender individuals require treatment for gender

dysphoria.

      Finally, it is a “legitimate purpose” to “limit[] health care costs.” Saah v.

Contel Corp., 978 F.2d 1256 (4th Cir.1992) (per curiam). See also Boyd v.


                                         - 33 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 39 of 47
Bulala, 877 F.2d 1191, 1197 (4th Cir.1989) (“[C]ap on [malpractice] liability

bears a reasonable relation to a valid legislative purpose—the maintenance of

adequate health care services.”). “[S]o long as the line drawn by the State is

rationally supportable, the courts will not interpose their judgment as to the

appropriate stopping point” even if members of a protected class are

disproportionately affected by the lack of coverage. Aiello, 417 U.S. at 495.

      As one member of the Board of Trustees stated, his goal is “not to limit

increases in cost” but to actually “cut the cost of healthcare for our state

workers” because some individuals “are paying 20, 25 percent of their monthly

income on healthcare on the State Health Plan.” Robie.Dep.73:3-11. Once the

Plan starts adding niche benefits, “then I have to keep going” for “[e]verybody

who comes in and wants a benefit … because I can’t               discriminate.”

Jones.Dep.104:25-105:24. Plaintiffs suggest that this rationale weakens when

the marginal cost of additional coverage is low, but there is no de minimus

exception permitting Court intrusion when only “moderate alterations” to

premium “variables” are needed. Aiello, 417 U.S. at 495-96. “The State has a

legitimate interest in maintaining the self-supporting nature of its insurance

program” and nothing in the Constitution requires a “more comprehensive”

one. Id. at 496.




                                         - 34 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 40 of 47
III.    The Plaintiffs’ remaining claims are not supported by the
        evidence.

        A.    Plaintiffs have not provided sufficient evidence to support a
              grant of summary judgment under § 1557 of the Affordable
              Care Act.

        Plaintiffs seek summary judgment for injunctive relief and damages

under § 1557 of the Affordable Care Act, alleging that the failure to cover

hormone treatment and surgery for gender dysphoria is “discrimination based

on sex in healthcare.” ECF No. 179 at 30-32. 11

        To the extent Plaintiffs claim the Plan’s decision not to cover each and

every possible treatment for gender dysphoria reflects discrimination “on the

basis of sex,” this argument has been addressed above. Also relevant to the

§ 1557 claim, however, is the fact that the U.S. Department of Health and

Human Services (“HHS”) has now expressly disavowed the factual analysis

and conclusions reached in its earlier 2016 rule interpreting the scope of

§ 1557. In 2016, HHS stated that transition-related treatment could no longer

be considered “cosmetic or experimental;” refusal to cover hormone treatment



11      Plaintiffs cite another district court ruling on a motion to dismiss as support
        for a grant of summary judgment. ECF No. 179 at 28 (citing C.P. by & through
        Pritchard v. Blue Cross Blue Shield of Illinois, 536 F. Supp.3d 791 (W.D.
        Wash. 2021). CP held only that “[p]laintiffs provide enough [unspecified]
        factual support” to make an allegation of discrimination “plausible.” The case
        is irrelevant on summary judgment, especially as the court did not identify the
        “factual support” it found persuasive. Id.


                                            - 35 -


       Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 41 of 47
or surgery on such a basis “is now recognized as outdated and not based on

current standards of care.” 81 Fed. Reg. 31429 (May 18, 2019).

         The revised 2020 Rule studied this factual question, received extensive

comment, and the agency concluded after a “review of the most recent

evidence”      that   the   2016   statement    “was    an   erroneous    assertion.”

85 Fed. Reg. 37187 (June 19, 2020). The current Rule found that “there is, at a

minimum, a lack of scientific and medical consensus to support this assertion,”

and the “lack of scientific and medical consensus—and the lack of high-quality

scientific evidence supporting such treatments—is borne out by other

evidence.” Id.

         With their claim under § 1557, Plaintiffs ask this Court to do what HHS

has refused: impose a view about appropriate care for gender dysphoria in a

way that “inappropriately interfere[s] with the ethical and medical judgment

of health professionals.” 85 Fed. Reg. 37187. “A medical provider may rightly

judge a hysterectomy due to the presence of malignant tumors to be different

in kind from the removal of properly functioning and healthy reproductive

tissue for psychological reasons, even if the instruments used are identical.”

Id. 12


12       Plaintiffs have provided no alternative theories or evidence in support their
         § 1557 claim other than the claim of facial discrimination rejected above.


                                            - 36 -


     Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 42 of 47
      Plaintiffs have also provided no evidence of damages. Under both § 1557

of the Affordable Care Act, 42 U.S.C. § 18116, and Title VII, Plaintiffs seek

damages, but have presented no evidence for this Court to consider. Although

Plaintiffs allege “financial harm,” ECF No. 75 at 42, 44-45, they present no

calculations or medical bills. Similarly, Plaintiffs allege emotional damages,

id., but have not identified or quantified the “independent compensable harm”

that resulted from the alleged statutory violation. Price v. City of Charlotte,

N.C., 93 F.3d 1241, 1248 (4th Cir. 1996). Without such evidence, the Court

cannot award summary judgment to Plaintiffs on either the § 1557 claim or

the Title VII claim.

      B.    Plaintiff Caraway has not produced sufficient evidence to
            support her Title VII claim.

      The Court should deny Caraway’s motion for summary judgment and

dismiss her Title VII claim. ECF No. 137 at 25-33; ECF No. 193 at 1-6.

Caraway misunderstands the application of Title VII to fringe benefits,

asserting that her health benefits are “compensation.” ECF No. 179 at 4. This

is false. As discussed earlier, “employer-provided fringe benefits” which include



      Because § 1557 adopts the “enforcement mechanisms provided for and
      available under” the referenced civil rights statutes, 42 U.S.C. § 18116(a), and
      because Title IX does not permit a claim based on “disparate impact,” Doe v.
      Fairfax Cty. Sch. Bd., 403 F.Supp.3d 508, 515 (E.D. Va. 2019), Plaintiffs
      cannot assert a disparate impact claim in this case either.


                                           - 37 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 43 of 47
“health, life or disability plans” are not “compensation.” N.C. Stat. § 135-

1(7a)(b).

      Manhart, the case Caraway relies upon, makes this analysis clear. In

Manhart, the Supreme Court considered whether a pension plan could

“require[ ] female employees to make monthly contributions to the fund which

were…higher than the contributions required of comparable male employees.”

City of Los Angeles, Dep’t of Water & Power v. Manhart, 435 U.S. 702, 705

(1978). The Court rejected such a distinction, because Title VII’s “focus on the

individual is unambiguous” and “precludes treatment of individuals as simply

components of a racial, religious, sexual, or national class.” Id. at 708.

Therefore, even if “[w]omen, as a class, do live longer than men,” id. at 707, the

employer could not charge different amounts based on sex.

      In response, the employer made an argument very similar to Caraway’s.

Just as Caraway argues that it is unfair that the Plan does not pay for all of

her treatments, Manhart’s employer argued that a failure to charge different

contributions “would itself violate Title VII because of its disproportionately

heavy impact on male employees.” Id. at 710 n.20. The Court rejected this

analysis. “This suggestion has no force in the sex discrimination context

because each retiree’s total pension benefits are ultimately determined by his

actual life span; any differential in benefits paid to men and women in the


                                         - 38 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 44 of 47
aggregate is thus “based on [a] factor other than sex.” Id. The same logic

applies here. Caraway’s health care payments “are ultimately determined by”

her actual medical needs; “any differential in benefits paid … in the aggregate

is thus based on a factor other than sex.” Id.



                                CONCLUSION

      Plaintiffs ask this Court to conceptualize their case as involving an by

the Plan on the autonomy of transgender individuals, but this profoundly

misstates the facts, the law, and the procedural posture. The State Health Plan

does not restrict Plaintiffs’ medical care. The Plan does not classify Plan

members based on whether they identify as transgender, cisgender, non-

binary, non-gendered, or otherwise. The Plan does not provide different health

coverage to Plaintiffs. The discrimination alleged by Plaintiffs is that the Plan

cannot cover a medication or treatment for one diagnosis—for example, a

mastectomy for a man or woman with breast cancer—without also paying for

medical treatment for a different diagnosis. This is not the law.




                                         - 39 -


    Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 45 of 47
     Respectfully submitted, this the 19th day of January, 2022.



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                                      - 40 -


   Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 46 of 47
                    CERTIFICATE OF WORD COUNT

      Pursuant to L.R. 7.3(d)(1), the undersigned certifies that this Brief

complies with the Court’s expanded word limit using the word count feature of

the word processing software in making this certification.



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                                       - 41 -


   Case 1:19-cv-00272-LCB-LPA Document 197 Filed 01/19/22 Page 47 of 47
